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UNITED STATES DISTRICT COURT _ ___ __ , y .
WESTERN DISTRICT OF TENNESSEE i l- ‘ ‘ ‘~" ' '
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:020r20480-2-Ml

ADAM HOGELAND

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a probable cause/detention hearing
is Set for WEDNESDAY, APRIL 27, 2005 at 2:45 P.M. before United States Magistrate Judge Tu
M. Pham in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167
North Main, Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

/_______-F-v
Date: Apri122,2005 (/_,_:KDQQ_\

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

 

IIt` not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present. Subsection (l ) sets forth
the grounds that may be asserted only by the attorney t`or the government; subsection (2) states that a hearing is mandated
upon the motion of`the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AU 470 (8/85) Order of Temporary Detention

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:02-CR-20480 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

